                      Exhibit A

                   Amendment No. 4




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                                          AMENDMENT NO. 4
               TO SENIOR SECURED SUPER PRIORITY DEBTOR IN POSSESSION LOAN AGREEMENT

                               This Amendment No. 4 (this “Amendment”) to the Senior Secured Super Priority Debtor
             in Possession Loan Agreement, dated as of August 9, 2023 (as amended, restated, supplemented or
             otherwise modified from time to time, the “Loan Agreement”) is made as of October 12, 2023, and is
             entered into by and among by and among AMYRIS, INC., a Delaware corporation (the “Parent”), each of
             the Subsidiaries of the Parent set out in Part 1 of Schedule 1 to this Amendment (together with the Parent,
             each, a “Borrower” and collectively, the “Borrowers”), the Subsidiaries of the Parent set out in Part 2 of
             Schedule 1 to this Amendment (such other Subsidiaries of the Parent that are guarantors, each, a
             “Guarantor” and collectively, the “Guarantors” and, together with the Borrowers, each an “Obligor” and
             collectively, the “Obligors”), each lender from time to time party hereto (each, a “Lender” and collectively,
             the “Lenders”) and Euagore, LLC, in its capacity as Administrative Agent (the “Administrative Agent”).

                     WHEREAS, on August 9, 2023, the Parent and certain of its Subsidiaries filed voluntary petitions
             with the Bankruptcy Court initiating their respective cases under chapter 11 of the Bankruptcy Code and
             have continued in the possession of their assets and the management of their business pursuant to Section
             1107 and 1108 of the Bankruptcy Code;

                     WHEREAS, on August 9, 2023, the Obligors and the Lenders entered into the Loan Agreement to
             provide a super priority multiple-draw senior secured debtor-in-possession term loan credit facility (the
             “DIP Facility”), with all of the Borrowers’ obligations under the DIP Facility guaranteed by each Guarantor,
             and the Lenders agreed to extend the DIP Facility to the Borrowers on the terms and subject to the
             conditions set forth in the Loan Agreement;

                     WHEREAS, the Obligors and the Lenders have entered into Amendment No. 1, Amendment No.
             2 and Amendment No. 3 to the Loan Agreement, which modified, among other things, certain milestones
             in Section 7.25(d) of the Loan Agreement; and

                      WHEREAS, the Obligors have requested that the Administrative Agent and the Lenders further amend
             the Loan Agreement in certain respects, and the Administrative Agent and such Lenders are willing to do so,
             in each case, subject to the terms and conditions set forth herein,

                     NOW THEREFORE, in consideration of the premises and other good and valuable consideration,
             the receipt and sufficiency of which are hereby acknowledged, the parties to this Amendment agree as
             follows:

                             1.       Definitions. All terms used herein that are defined in the Loan Agreement and not
             otherwise defined herein shall have the meanings given to them in the Loan Agreement.

                                2.      Amendments and Consents. With effect from the Effective Date:

                                        (a)     Section 7.25(c) (Certain Case Milestones) is deleted and replaced with:

                      “(c)    the Bankruptcy Court shall enter the Final Order no later than seventy (70) calendar days
                      following the Petition Date (i.e. October 18, 2023); and”




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                                     (b)        clauses (ii) though (iv) of Section 7.25(d) (Certain Case Milestones) are
             deleted and replaced with:

                      “(ii)     no later than forty (40) calendar days following the Plan Filing Deadline (i.e. November
                                21, 2023) (the “Disclosure Statement Hearing Order Deadline”), the Bankruptcy Court
                                shall enter an order approving the Disclosure Statement, which order shall provide that the
                                date upon which votes to accept or reject the Chapter 11 Plan must be submitted shall be
                                no later than fifty (50) calendar days following the Disclosure Statement Hearing Order
                                Deadline (i.e. January 10, 2024);
                      (iii)     no later than ninety-seven (97) calendar days following the Plan Filing Deadline (i.e.
                                January 17, 2024), the Bankruptcy Court shall enter the Acceptable Confirmation Order;
                                provided that the Acceptable Confirmation Order and Chapter 11 Plan shall be in form and
                                substance consistent in all respects with the Plan Support Agreement and in form and
                                substance acceptable to the Administrative Agent;
                      (iv)      no later than January 31, 2024, the Plan Effective Date shall occur; and”

                             3.     Representations and Warranties. Each Obligor hereby represents and warrants to
             the Administrative Agent and the Lenders that:

                                       (a)       the representations and warranties in Section 5 and in each other Loan
             Document, certificate or other writing delivered by or on behalf of the Obligors to the Administrative Agent
             or any Lender pursuant to any Loan Document on or before the Effective Date are true and correct in all
             material respects (except that such materiality qualifier shall not be applicable to any representations or
             warranties that already are qualified or modified as to “materiality” or “Material Adverse Effect” in the text
             thereof, which representations and warranties shall be true and correct in all respects subject to such
             qualification) on and as of the Effective Date as though made on and as of such date, except to the extent
             that any such representation or warranty expressly relates solely to an earlier date (in which case such
             representation or warranty shall be true and correct in all material respects (except that such materiality
             qualifier shall not be applicable to any representations or warranties that already are qualified or modified
             as to “materiality” or “Material Adverse Effect” in the text thereof, which representations and warranties
             shall be true and correct in all respects subject to such qualification) on and as of such earlier date), and no
             Default or Event of Default has occurred and is continuing as of the Effective Date or would result from
             this Amendment becoming effective in accordance with its terms;

                                       (b)      the execution, delivery and performance of this Amendment (i) are within
             its corporate, partnership, limited partnership or limited liability company power and do not contravene any
             provision of its organizational documents; (ii) have been duly authorized by all necessary or proper action
             of each Obligor; (iii) will not result in the creation or imposition of any Lien upon the Collateral, other than
             Permitted Liens; (iv) do not violate (A) any Laws or regulations to which it or its Subsidiaries are subject,
             the violation of which would be reasonably expected to have a Material Adverse Effect or (B) any order,
             injunction, judgment, decree or writ of any Governmental Authority to which it or its Subsidiaries are
             subject; (v) do not conflict with, or result in the breach or termination of, constitute a default under or
             accelerate or permit the acceleration of any performance required by, any indenture mortgage, deed of trust,
             lease or agreement or other instrument, in each case, in respect of material Indebtedness to which it or its
             Subsidiaries is a party or by which it or its Subsidiaries or any of its property is bound; and (vi) do not
             violate any contract or agreement or require the consent or approval of any other Person or Governmental
             Authority which has not already been obtained. The individual or individuals executing this Amendment
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             are duly authorized to do so. This Amendment has been duly executed and delivered on behalf of each
             Obligor party thereto; and

                                      (c)      this Amendment upon execution will constitute, a legal, valid and binding
             obligation of each Obligor party thereto, enforceable against each such Obligor in accordance with its terms,
             except as enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
             or similar laws affecting the enforcement of creditors’ rights generally and by general equitable principles
             (whether enforcement is sought by proceedings in equity or at law).

                              4.      Conditions to Effectiveness. This Amendment shall become effective only upon
             the date (the “Effective Date”) on which the Administrative Agent and Required Lenders have received (or
             waived receipt of) the following documents and other evidence, each in form and substance satisfactory to
             them:

                                        (a)     this Amendment, signed by all Obligors party to it;

                                        (b)     the representations and warranties contained in Section 5 and in this
             Amendment shall be true and correct in all material respects (except that such materiality qualifier shall not
             be applicable to any representations or warranties that already are qualified or modified as to “materiality”
             or “Material Adverse Effect” in the text thereof, which representations and warranties shall be true and
             correct in all respects subject to such qualification) on and as of the Effective Date as though made on and
             as of such date, except to the extent that any such representation or warranty expressly relates solely to an
             earlier date (in which case such representation or warranty shall be true and correct in all material respects
             (except that such materiality qualifier shall not be applicable to any representations or warranties that
             already are qualified or modified as to “materiality” or “Material Adverse Effect” in the text thereof, which
             representations and warranties shall be true and correct in all respects subject to such qualification) on and
             as of such earlier date); and

                                      (c)   no Default or Event of Default shall have occurred and be continuing or
             shall result from this Amendment becoming effective in accordance with its terms.

                                5.      Reaffirmation. Each Obligor, as debtor, grantor, pledgor, guarantor, assignor, or in
             any other similar capacity in which such Person grants liens or security interests in its property or otherwise
             acts as accommodation party or guarantor, as the case may be, in each case, pursuant to any Loan Document,
             hereby (a) confirms, ratifies and reaffirms all of its payment and performance obligations, contingent or
             otherwise, under the Loan Agreement and each other Loan Document to which it is a party (after giving effect
             hereto), (b) confirms and agrees that each Loan Document to which it is a party is, and shall continue to be,
             in full force and effect and is hereby ratified and confirmed in all respects, except that on and after the Effective
             Date, all references in any such Loan Document to “the Loan Agreement”, the “Agreement”, “thereto”,
             “thereof”, “thereunder” or words of like import referring to the Loan Agreement shall mean the Loan
             Agreement as amended by this Amendment, and (c) confirms and agrees that, to the extent that any Loan
             Document to which it is party purports to assign or pledge to the Administrative Agent, for the benefit of the
             Secured Parties, or to grant to the Administrative Agent, for the benefit of the Secured Parties, a security
             interest in or Lien on any Collateral as security for the Secured Obligations of the Obligors from time to time
             existing in respect of the Loan Agreement (as amended hereby) and the other Loan Documents, or otherwise
             guaranteed the Secured Obligations under or with respect to the Loan Documents, such guarantee, pledge,
             assignment and/or grant of the security interest or Lien is hereby ratified, reaffirmed and confirmed in all
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             respects and confirms and agrees that such guarantee, pledge, assignment and/or grant of the security interest
             or Lien hereafter guarantees and secures all of the Secured Obligations as amended hereby. This Amendment
             does not and shall not affect any of the obligations of the Obligors, other than as expressly provided herein,
             including, without limitation, the Obligors’ obligations to repay the Advances in accordance with the terms
             of Loan Agreement or the obligations of the Obligors under any Loan Document to which they are a party,
             all of which obligations shall remain in full force and effect. Except as expressly provided herein, the
             execution, delivery and effectiveness of this Amendment shall not operate as a waiver of any right, power or
             remedy of the Administrative Agent or any Lender under any Loan Document, shall not constitute a waiver
             of any provision of any Loan Document, and shall not be construed as a substitution or novation of the Secured
             Obligations which shall remain in full force and effect.

                              6.       No Representations. Each Obligor hereby acknowledges that it has not relied on
             any representation, written or oral, express or implied, by the Administrative Agent or any Lender in entering
             into this Amendment.

                                7.      Miscellaneous.

                                   (a)     Sections 10.1 (Severability), 10.9 (Consent to Jurisdiction and Venue),
             10.10 (Mutual Waiver of Jury Trial) and 10.15 (Counterparts) are deemed incorporated into this
             Amendment with all necessary changes.

                                      (b)      Section and paragraph headings herein are included for convenience of
             reference only and shall not constitute a part of this Amendment for any other purpose. References to
             “Sections” are to sections of the Loan Agreement, unless otherwise stated.

                               (c)   EXCEPT TO THE EXTENT GOVERNED BY THE BANKRUPTCY
             CODE, THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
             WITH, THE LAW OF THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO
             BE PERFORMED IN THE STATE OF NEW YORK WITHOUT GIVING EFFECT TO THE CONFLICT
             OF LAWS PROVISIONS THEREOF (OTHER THAN SECTION 5-1401 AND 5-1402 OF THE NEW
             YORK GENERAL OBLIGATIONS LAW).

                                        (d)     Each Obligor hereby acknowledges and agrees that this Amendment is a
             “Loan Document”.

                                       (e)     With respect to any Obligor, this Amendment is subject in all respects
             (including with respect to all obligations and agreements of the Obligors provided for hereunder) to the
             terms of the Interim Order (and, when applicable, the Final Order) and if any provision in this Amendment
             expressly conflicts or is inconsistent with any provision in the Interim Order or Final Order, the provisions
             in the applicable DIP Order shall govern and control.

                                               [Remainder of page intentionally left blank.]




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                            IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be executed
            and delivered as of the date set forth on the first page hereof.

                                                                COMPANIES:

                                                                AMYRIS, INC., a Delaware corporation

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Interim Chief Executive Officer and Chief
                                                                Financial Officer


                                                                AMYRIS CLEAN BEAUTY, INC., a Delaware
                                                                corporation

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                APRINNOVA, LLC, a Delaware limited liability
                                                                company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                AB TECHNOLOGIES LLC, a Delaware limited
                                                                liability company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                AMYRIS FUELS, LLC, a Delaware limited liability
                                                                company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer




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                                                                AMYRIS-OLIKA, LLC, a Delaware limited liability
                                                                company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                ONDA BEAUTY INC., a Delaware corporation

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                UPLAND 1 LLC, a Delaware limited liability
                                                                company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                AMYRIS- ECOFAB LLC, a Delaware limited
                                                                liability company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: Chief Financial Officer


                                                                CLEAN BEAUTY 4U HOLDINGS, LLC, a
                                                                Delaware limited liability company

                                                                By:
                                                                Name: Han Kieftenbeld
                                                                Title: CEO & President


                                                                AMYRIS CLEAN BEAUTY LATAM LTDA., a
                                                                Brazilian limited liability company

                                                                By:
                                                                Name: Daniel Moreira
                                                                Title: Legal Director


                                                                By:
                                                                Name: Claudia Marina Nohara
                                                                Title: Chief Financial Officer

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                                                                INTERFACES INDUSTRIA E COMERCIO DE
                                                                COSMETICOS LTDA., a Brazilian limited liability
                                                                company

                                                                By:
                                                                Name: Claudia Marina Nohara
                                                                Title: Chief Financial Officer

                                                                By:
                                                                Name: Daniel Moreira
                                                                Title: Legal Director

                                                                AMYRIS BIOTECNOLOGIA                   DO BRASIL
                                                                LTDA., a Brazilian limited liability company

                                                                By:
                                                                Name: Claudia Marina Nohara
                                                                Title: Chief Financial Officer

                                                                By:
                                                                Name: Daniel Moreira
                                                                Title: Legal Director

                                                                AMYRIS EUROPE TRADING B.V.
                                                                (NETHERLANDS), a Netherlands limited liability
                                                                company

                                                                By:
                                                                Name: Luca Galantucci
                                                                Title: Director

                                                                AMYRIS BIO PRODUCTS PORTUGAL,
                                                                UNIPESSOAL, LDA., a Portugal liability company

                                                                By:
                                                                Name: Luca Galantucci
                                                                Title: Director

                                                                BEAUTY LABS INTERNATIONAL LIMITED, a
                                                                United Kingdom limited company

                                                                By:
                                                                Name: Luca Galantucci
                                                                Title: Director

                                                                AMYRIS UK TRADING LIMITED, a United
                                                                Kingdom limited company

                                                                 By:
                                                                 Name: Luca Galantucci
                                                                 Title: Director
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                                                               CLEAN BEAUTY 4U LLC, a
                                                               Delaware limited liability company

                                                               By: Amyris, Inc.
                                                               Its: Manager

                                                               By:
                                                               Name: Han Kieftenbeld
                                                               Title: Interim CEO and Chief Financial Officer


                                                               CLEAN BEAUTY COLLABORATIVE, INC. a
                                                               Delaware corporation


                                                               By:
                                                               Name: Caroline Hadfield
                                                               Title: Chief Executive Officer &
                                                               President




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                                                             CLEAN BEAUTY 4U LLC, a
                                                             Delaware limited liability company

                                                             By: Amyris, Inc.
                                                             Its: Manager

                                                             By:
                                                             Name: Han Kieftenbeld
                                                             Title: Interim CEO and Chief Financial Officer


                                                             CLEAN BEAUTY COLLABORATIVE, INC. a
                                                             Delaware corporation


                                                             By:
                                                             Name: Caroline Hadfield
                                                             Title: Chief Executive Officer &
                                                             President



                                                             ADMINISTRATIVE AGENT:

                                                             EUAGORE, LLC, a Delaware limited liability
                                                             company

                                                             By:
                                                             Name: Barbara S. Hager
                                                             Title: Manager


                                                             LENDER:

                                                             EUAGORE, LLC, a Delaware limited liability
                                                             company

                                                             By:
                                                             Name: Barbara S. Hager
                                                             Title: Manager




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                                                               Schedule 1
                                                                 Part 1

                                                               Borrowers
             1. Amyris, Inc., a Delaware corporation

             2. Amyris Clean Beauty, Inc., a Delaware corporation

             3. Aprinnova, LLC, a Delaware limited liability company

                                                                 Part 2

                                                               Guarantors
             1. AB Technologies LLC, a Delaware limited liability company

             2. Amyris Fuels, LLC, a Delaware limited liability company

             3. Amyris-Olika, LLC, a Delaware limited liability company

             4. Onda Beauty Inc., Delaware corporation

             5. Upland 1 LLC, a Delaware limited liability company

             6. Amyris Eco-Fab LLC, a Delaware limited liability company

             7. Clean Beauty 4U Holdings, LLC, a Delaware limited liability company

             8. Clean Beauty 4U LLC, a Delaware limited liability company

             9. Clean Beauty Collaborative, Inc., a Delaware corporation

             10. Amyris Clean Beauty LATAM Ltda., a Brazil limited liability company

             11. Interfaces Industria e Comercio de Cosmeticos Ltda., a Brazil limited liability company

             12. Amyris Biotecnologia Do Brasil Ltda., a Brazil limited liability company

             13. Amyris Europe Trading B.V. (Netherlands), a Netherlands limited company

             14. Amyris Bio Products Portugal, Unipessoal, Lda., a Portugal limited company

             15. Beauty Labs International Limited, a United Kingdom limited company

             16. Amyris UK Trading Limited, a United Kingdom limited company




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